Case 17-11521-JDW          Doc 51      Filed 04/12/19 Entered 04/12/19 14:18:16                 Desc
                                            Page 1 of 2


                    IN THE UNITED STATES BANKRUPTCY COURT
                     IN THE NORTHERN DISTRICT OF MISSISSIPPI

 IN RE:                                                                      BANKRUPTCY NO:

 SANCHEZ & ANGELA ANTHONY                                                           17-11521-JDW
 POST OFFICE BOX 93
 BYHALIA, MS 38611



                       NOTICE OF TRUSTEE’S MOTION TO DISMISS

          Should any party receiving this notice respond or object to said motion, such response or
  objection is required to be filed on or before May 6, 2019, using the CM/ECF system or with the
  Clerk of this Court at the following address:

                                   Shallanda J. Clay, Clerk of Court
                                       U. S. Bankruptcy Court
                                   Northern District of Mississippi
                                      703 Highway 145 North
                                        Aberdeen, MS 39730

           A copy of the response or objection must be served on the undersigned Chapter 13
  Trustee. If no responses or objections are filed, the Court may consider said motion immediately
  after the time has expired. In the event a written response or objection is filed, the Court will
  notify you of the date, time and place of the hearing thereon.

                                   CERTIFICATE OF SERVICE

           I, Locke D. Barkley, the Chapter 13 Trustee, do hereby certify that I electronically filed
  the foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify that I
  either mailed by United States Postal Service, first class, postage prepaid, or electronically
  notified through the CM/ECF system, a copy of the above and foregoing to the Debtor, attorney
  for the Debtor, the United States Trustee, and other parties in interest, if any, as identified
  below.

          Dated: April 12, 2019

                                                            LOCKE D. BARKLEY, TRUSTEE
                                                            /s/ Locke D. Barkley
                                                            Locke D. Barkley
                                                            Chapter 13 Trustee
                                                            6360 I-55 North, Suite 140
                                                            Jackson, MS 39211
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                    IN THE UNITED STATES BANKRUPTCY COURT
                     IN THE NORTHERN DISTRICT OF MISSISSIPPI

 IN RE:                                                                    BANKRUPTCY NO:

 SANCHEZ & ANGELA ANTHONY                                                         17-11521-JDW


                                      MOTION TO DISMISS

           COMES NOW Locke D. Barkley, Chapter 13 Trustee (the “Trustee), and files this
   Motion to Dismiss (the “Motion”) and in support thereof states as follows:
           1.      As of April 10, 2019, the Debtor is delinquent in plan payments in the
amount of $3,872.00 through April, 2019. Payments continue to accrue as required under the
plan.
           2.      The Trustee submits that this case should be dismissed unless a responsive
pleading is timely filed and/or unless the Debtor fails to fully cure all delinquency in the plan
payments prior to the response deadline stated with the Notice.
          WHEREFORE, PREMISES CONSIDERED, the Trustee prays that this Court enter
   its order granting the Motion. The Trustee prays for other such general and specific relief as
   this Court may deem just.
   DATED: April 12, 2019
                                                    Respectfully submitted,
                                                    LOCKE D. BARKLEY
                                                    CHAPTER 13 TRUSTEE

                                           BY:      /s/ Locke D. Barkley
                                                    Chapter 13 Trustee
                                                    6360 I-55 North, Suite 140
                                                    Jackson, Mississippi 39296


                                 CERTIFICATE OF SERVICE

           I, the undersigned attorney for the Trustee, do hereby certify that I electronically
   filed the foregoing with the Clerk of Court using the CM/ECF system, and I hereby certify
   that I either mailed by United States Postal Service, first class, postage prepaid, or
   electronically notified through the CM/ECF system, a copy of the above and foregoing to the
   Debtor, attorney for the Debtor, the United States Trustee, and other parties in interest, if
   any, as identified below.

   DATED: 04/12/2019
                                                                    /s/ Locke D Barkley
                                                                    Locke D. Barkley
                                                                    Chapter 13 Trustee
